Case 2:21-cPO0455 AIC SAALEDC DeegHieAnel7 «SHAPE BAL 7 PifedPeyeyaf 1page 1 of 1

_IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

v. Criminal No. 62/- ysS
[UNDER SEAL] ~
FREDERICK CUSHMORE JR.
ARRAIGNMENT PLEA

 

Defendant FREDERICK CUSHMORE JR.

being arraigned, pleads Sen fr

 

in open Court this / Pats day of

 

    

/ | 4 W fle .
VY (Attorney for Defendant)

 
